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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

R.M.S. TITANIC, INC.,
successor-in-interest to
Titanic Ventures, limited partnership,
              Plaintiff,

v.                                                          Civil Action No. 2:93cv902

THE WRECKED AND ABANDONED VESSEL,
ITS ENGINES, TACKLE, APPAREL,
APPURTENANCES, CARGO, ETC., LOCATED
WITHIN ONE (1) NAUTICAL MILE OF A POINT
LOCATED AT 41 43’ 32’’ NORTH LATITUDE
AND 49 56’ 49” WEST LONGITUDE,
BELIEVED TO BE THE R.M.S. TITANIC
in rem,
            Defendant.

          THE UNITED STATES’ RESPONSE TO PREMIER ACQQUISITION
            HOLDINGS LLC’S MOTION TO INTERVENE (ECF NO. 506)

       The United States, as amicus, and on behalf of its National Oceanic and Atmospheric

Administration (“NOAA”), does not oppose Premier Acquisition Holdings LLC’s (“PAHL”)

motion to intervene and expects to endorse an appropriate order to that end.

       In its memorandum in support of its motion, PAHL made certain statements and

representations concerning the scope of its potential in personam jurisdiction should this Court

ultimately approve the Sale Motion. See ECF No. 507 at 3-4. The United States’ agreement

with PAHL’s motion to intervene should not be construed as the United States’ agreement with

or consent to these statements and representations. The United States believes that, should the

Court approve the Sale Motion, PAHL should commit to the in personam jurisdiction of this

Court for purposes of compliance with its orders concerning Titanic, including the Revised

Covenants and Conditions.



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                                     Respectfully submitted,

                                     G. Zachary Terwilliger
                                     United States Attorney


                              By:      // Kent P. Porter //
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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 1st day of November, 2018, I will electronically file the
foregoing document with the Clerk of Court using the CM/ECF system, which will then send a
notification of electronic filing (NEF) to the following:

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